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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                           :
In re:                                                     :   Chapter 11
                                                           :
HYGEA HOLDINGS CORP., et al.,                              :   Case No. 20-10361 (KBO)
                                                           :
                  Debtors.1                                :   (Joint Administration Pending)
                                                           :
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    NOTICE OF AGENDA OF MATTERS SCHEDULED FOR FIRST-DAY HEARING ON
                FEBRUARY 21, 2020 AT 2:30 P.M. (EASTERN TIME)
                 BEFORE THE HONORABLE _KAREN B. OWENS2

RELATED MATTERS

A.       Voluntary Petitions

         1.       Hygea of Delaware, LLC, Case No. 20-1036 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         2.       Hygea Holdings Corp., Case No. 20-10361 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         3.       Hygea Health Holdings, Inc., Case No. 20-10362 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

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  The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management
Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861);
Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC
(1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp.
(2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida,
LLC (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC
(5862); Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center,
LLC (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc.
(6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO LLC (7738); Palm
Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468); Physician
Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883); Physicians
Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and Professional
Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street, Suite 280,
Miami, FL 33174.

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  The hearing will be held before The Honorable Karen B. Owens at the United States Bankruptcy Court for the
District of Delaware, 824 North Market Street, 6th Floor, Courtroom #3, Wilmington, Delaware 19801. Any person
who wishes to appear telephonically at the hearing must contact COURTCALL, LLC at 866-582-6878 to register
his/her telephonic appearance in accordance with the Instructions for Telephonic Appearances Effective January 5,
2005, Revised May 11, 2018.


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         4.       All Care Management Services, Inc., Case No. 20-10363 (KBO) (Filed February
                  19, 2020) [Docket No. 1]

         5.       First Harbour Health Management, LLC, Case No. 20-10364 (KBO) (Filed
                  February 19, 2020) [Docket No. 1]

         6.       First Harbour Medical Centers, LLC, Case No. 20-10365 (KBO) (Filed February
                  19, 2020) [Docket No. 1]

         7.       Florida Group Healthcare LLC, Case No. 20-10366 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         8.       Gemini Healthcare Fund, LLC, Case No. 20-10367 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         9.       Hygea Acquisition Longwood, LLC, Case No. 20-10368 (KBO) (Filed February
                  19, 2020) [Docket No. 1]

         10.      Hygea Acquisition Orlando, LLC, Case No. 20-10369 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         11.      Hygea IGP, LLC, Case No. 20-10370 (KBO) (Filed February 19, 2020) [Docket
                  No. 1]

         12.      Hygea IGP of Central Florida, Inc., Case No. 20-10371 (KBO) (Filed February
                  19, 2020) [Docket No. 1]

         13.      Hygea Medical Centers of Florida, LLC, Case No. 20-10372 (KBO) (Filed
                  February 19, 2020) [Docket No. 1]

         14.      Hygea Medical Partners, LLC, Case No. 20-10373 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         15.      Hygea of Georgia, LLC, Case No. 20-10374 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         16.      Hygea of Pembroke Pines, LLC, Case No. 20-10375 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         17.      Hygea Primum Acquisition, Inc., Case No. 20-10376 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         18.      Medlife Activity Center, LLC, Case No. 20-10377 (KBO) (Filed February 19,
                  2020) [Docket No. 1]



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         19.      Mobile Clinic Services, LLC, Case No. 20-10378 (KBO) ((Filed February 19,
                  2020) [Docket No. 1]

         20.      Palm A.C. MSO, LLC, Case No. 20-10379 (KBO)(Filed February 19, 2020)
                  [Docket No. 1]

         21.      Palm Allcare Medicaid MSO, Inc., Case No. 20-10380 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         22.      Palm Allcare MSO, Inc., Case No. 20-10381 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         23.      Palm Medical Group, Inc., Case No. 20-10382 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]]

         24.      Palm Medical MSO LLC, Case No. 20-10383 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         25.      Palm Medical Network, LLC, Case No. 20-10384 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         26.      Palm MSO System, Inc., Case No. 20-10385 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         27.      Palm PGA MSO, Inc., Case No. 20-10386 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         28.      Physician Management Associates East Coast, LLC, Case No. 20-10387 (KBO)
                  (Filed February 19, 2020) [Docket No. 1]

         29.      Physician Management Associates SE, LLC, Case No. 20-10388 (KBO) (Filed
                  February 19, 2020) [Docket No. 1]

         30.      Physicians Group Alliance, LLC, Case No. 20-10389 (KBO) (Filed February 19,
                  2020) [Docket No. 1]

         31.      Primum Alternatives, Inc., Case No. 20-10390 (KBO) (Filed February 19, 2020)
                  [Docket No. 1]

         32.      Primum Healthcare, LLC, Case No. 20-10391 (KBO)(Filed February 19, 2020)
                  [Docket No. 1]

         33.      Professional Health Choice, Inc., Case No. 20-10392 (KBO) (Filed February 19,
                  2020) [Docket No. 1]




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B.       Declaration of Keith Collins, M.D. in Support of Chapter 11 Petitions and First-Day
         Papers (Filed February 19, 2020) [Docket No. 13].

MATTERS GOING FORWARD

C.       First-Day Motions

         1.       Debtors’ Motion for Entry of Order (I) Directing Joint Administration of Cases
                  and (II) Waiving Certain Requirements of Bankruptcy Rule 2002(n) (Filed
                  February 19, 2020) [Docket No. 2]

                  Status: This matter will be going forward.

         2.       Debtors’ Motion for Entry of Order Authorizing the Debtors to File a
                  Consolidated Creditor Matrix in Lieu of Submitting a Separate Creditor Matrix
                  for Each Debtor (Filed February 19, 2020) [Docket No. 3]

                  Status: This matter will be going forward.

         3.       Application for an Order Appointing Epiq Corporate Restructuring, LLC as
                  Claims and Noticing Agent for the Debtors Pursuant to 28 U.S.C. §156(c), 11
                  U.S.C. § 105(a) and LBR 2002-(f) (Filed February 19, 2020) [Docket No. 4]

                  Status: This matter will be going forward.

         4.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Certain
                  Procedures to Maintain and Protect the Confidentiality of Patient Information as
                  Required by Applicable Privacy Rules (Filed February 19, 2020) [Docket No. 5]

                  Status: This matter will be going forward.

         5.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to
                  Pay Prepetition Wages, Compensation and Employee Benefits (Filed February 19,
                  2020) [Docket No. 6]

                  Status: This matter will be going forward.

         6.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Continued
                  (I) Use of Existing Cash Management System, Bank Accounts, and Business
                  Forms and Payment of Related Prepetition Obligations and (II) Performance of
                  Intercompany Transactions in the Ordinary Course of Business and Grant of
                  Superpriority Administrative Expense Status for Postpetition Intercompany
                  Claims (Filed February 19, 2020) [Docket No. 7]

                  Status: This matter will be going forward.



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         7.       Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Debtors’
                  Proposed Form of Adequate Assurance of Payment; (II) Establishing Procedures
                  for Resolving Objections by Utility Companies; and (III) Prohibiting Utility
                  Companies From Altering, Refusing or Discontinuing Service (Filed February 19,
                  2020) [Docket No. 8]

                  Status: This matter will be going forward.

         8.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to
                  Pay Certain Prepetition Taxes and Related Obligations (Filed February 19, 2020)
                  [Docket No. 9]

                  Status: This matter will be going forward.

         9.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors to
                  (I) Maintain Existing Insurance Policies and Pay All Insurance Obligations
                  Arising Thereunder, and (II) Renew, Extend, Supplement, Change or Enter Into
                  New Insurance Policies and (III) Continue Their Insurance Premium Finance
                  Agreement (Filed February 19, 2020) [Docket No. 10]

                  Status: This matter will be going forward.

         10.      Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the
                  Debtors to (A) Use Cash Collateral and (B) Incur Postpetition Secured
                  Indebtedness; (II) Granting Liens and Providing Super-Priority Administrative
                  Expense Status; (III) Granting Adequate Protection to Bridging Finance Inc., as
                  Administrative Agent; and (IV) Modifying the Automatic Stay (Filed February
                  19, 2020) [Docket No. 11]

                  Status: This matter will be going forward.




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Dated: Wilmington, Delaware
       February 19, 2020
                                         COLE SCHOTZ P.C.

                                         /s/ Katherine M. Devanney
                                         J. Kate Stickles (I.D. No. 2917)
                                         Katherine M. Devanney (I.D. No. 6356)
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                                         – and –

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                                         Felice R. Yudkin (Admitted pro hac vice)
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                                         Proposed Counsel for Debtors and
                                         Debtors-in-Possession




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